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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC,                           )
                                                 )
                       Plaintiff,                )
       v.                                        )     C.A. No. 19-1105 (RGA)
                                                 )
DRAFTKINGS, INC.,                                )
                                                 )
                       Defendant.                )

    DEFENDANT DRAFTKINGS INC.’S MOTION TO DISMISS FOR FAILURE TO
               STATE A CLAIM PURSUANT TO 35 U.S.C. § 101

               Pursuant to Federal Rule of Civil Procedure 12(b)(6) and 35 U.S.C. § 101,

Defendant DraftKings Inc. (“DraftKings”) respectfully moves to dismiss Plaintiff Interactive

Games LLC’s claims of infringement as to U.S. Patent Nos. 8,956,231 (Count I), 8,974,302

(Count II), 9,430,901 (Count III), and 8,616,967 (Count IV), because the claims of those patents

are directed to patent-ineligible subject matter. The grounds for this motion are fully set forth in

DraftKing’s Opening Brief in Support of Its Motion to Dismiss for Failure to State a Claim

Pursuant to 35 U.S.C. § 101.

               WHEREFORE, DraftKing’s respectfully requests that the Court enter the attached

order granting this motion.

                                                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                     /s/ Rodger D. Smith II

                                                     Rodger D. Smith II (#3778)
                                                     Jeffrey J. Lyons (#6437)
OF COUNSEL:                                          1201 North Market Street
                                                     P.O. Box 1347
G. Hopkins Guy III                                   Wilmington, DE 19899
BAKER BOTTS L.L.P.                                   (302) 658-9200
1001 Page Mill Road                                  rsmith@mnat.com
Building One, Suite 200                              jlyons@mnat.com
Palo Alto, CA 94304-1007                               Attorneys for Defendant DraftKings, Inc.
(650) 739-7500
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Jamie R. Lynn
BAKER BOTTS L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400
(202) 639-7786

Michael E. Knierim
BAKER BOTTS L.L.P.
30 Rockefeller Plaza
New York, NY 10112-4498
(212) 408-2500

Clarke W. Stavinoha
BAKER BOTTS L.L.P.
2001 Ross Avenue, Suite 900
Dallas, TX 75201-2980
(214) 953-6500

November 8, 2019




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC,                        )
                                              )
                     Plaintiff,               )
       v.                                     )    C.A. No. 19-1105 (RGA)
                                              )
DRAFTKINGS, INC.,                             )
                                              )
                     Defendant.               )

            [PROPOSED] ORDER GRANTING DEFENDANT DRAFTKINGS INC.’s
                  MOTION TO DISMISS FOR FAILURE TO STATE
                        A CLAIM PURSUANT TO 35 U.S.C. § 101

              At Wilmington this _____ day of _________________, 2019, having considered

Defendant DraftKings Inc.’s Motion to Dismiss for Failure to State a Claim Pursuant to 35

U.S.C. § 101, IT IS HEREBY ORDERED that the motion is GRANTED.

              The Court finds that all claims of U.S. Patent Nos. 8,956,231 (Count I), 8,974,302

(Count II), 9,430,901 (Count III), and 8,616,967 (Count IV) are invalid as directed to patent-

ineligible subject matter under 35 U.S.C. § 101. Counts I-IV of the complaint are therefore

DISMISSED with prejudice.



                                                   _______________________________
                                                   Hon. Richard G. Andrews
                                                   United States District Judge
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                                  CERTIFICATE OF SERVICE

                I hereby certify that on November 8, 2019, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

November 8, 2019, upon the following in the manner indicated:


Daniel M. Silver                                                      VIA ELECTRONIC MAIL
Alexandra M. Joyce
MCCARTER & ENGLISH, LLP
Renaissance Centre
405 N. King St., 8th Fl.
Wilmington, DE 19801
Attorneys for Plaintiff Interactive Games LLC

Robert F. Shaffer                                                     VIA ELECTRONIC MAIL
James R. Barney
Anthony D. Del Monaco
Scott A. Allen
Abdul Ghani Hamadi
FINNEGAN, HENDERSON, FARABOW, GARRETT &
DUNNER, LLP
901 New York Avenue, NW
Washington, DC 20001-4413
Attorneys for Plaintiff Interactive Games LLC


                                                    /s/ Rodger D. Smith II

                                                    Rodger D. Smith II (#3778)
